     Case 3:18-cv-00522-W-MSB Document 40 Filed 11/22/21 PageID.216 Page 1 of 1



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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   SPA-KUR THERAPY DEVELOPMENT,                     Case No.: 18-CV-522 JLS (MSB)
     INC., dba H-E-A-T INC.,
12
                                     Plaintiff,       ORDER (1) GRANTING EX PARTE
13                                                    APPLICATION TO REASSIGN
     v.                                               CASE; (2) RECUSING FROM CASE;
14
                                                      AND (3) REQUESTING
     BANK OF AMERICA, NATIONAL
15                                                    REASSIGNMENT
     ASSOCIATION; CITIBANK, N.A.;
16   WAKEFERN FOOD CORP.;
                                                      (ECF No. 39)
     THERMOSEAL, LLC; DIAMOND
17
     BANK, PLC; UNITED STATES
18   DEPARTMENT OF JUSTICE,
19                                 Defendants.
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21         Presently before the Court is Plaintiff Spa-Kur Therapy Development, Inc.’s Ex
22   Parte Application to Reassign Case (ECF No. 39). The Court GRANTS the Application.
23   The undersigned HEREBY RECUSES from this case and REQUESTS that another
24   District Judge be assigned.
25         IT IS SO ORDERED.
26   Dated: November 22, 2021
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                                                                            18-CV-522 JLS (MSB)
